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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                LAKE CHARLES DIVISION


BASKARAN BALASUNDARAM                                  CASE NO. 2:21-CV-00250 SEC P
#A203-675-751

VERSUS                                                 JUDGE JAMES D. CAIN, JR.

DOUG HEBERT                                            MAGISTRATE JUDGE KAY


                                              ORDER

       Plaintiff has been served more than fourteen (14) days ago with a Notice of Intent to

Dismiss this case under LR 41.3 for the reason that service of the summons and complaint was

not made within 90 days of the institution of this civil action and Plaintiff has failed to show

good cause for this deficiency. Accordingly,

       IT IS ORDERED that this action be dismissed in its entirety. This action may be

reinstated within thirty (30) days for good cause shown.

       For questions regarding this document or transmission, please call our CM/ECF help

desk at 1-866-323-1101.

       THUS DONE June 15, 2021.



                                                  TONY R. MOORE
                                                  CLERK OF COURT
